Case 1:21-cv-02333-JPH-TAB Document 1-1 Filed 08/25/21 Page 1 of 23 PageID #: 6




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

   MELANIE ANDERSON,

               Plaintiff,

   VS.                                      CASE NO.:

   RED LOBSTER RESTAURANTS LLC

              Defendant.




                  EXHIBIT 1
     TO NOTICE OF REMOVAL
        Case 1:21-cv-02333-JPH-TAB Document 1-1 Filed 08/25/21 Page 2 of 23 PageID #: 7
 Summary MyCase
             -




                                                                                                             01: K. Haire Sign Out


         I,t Go to                          to learn about how courts around the state are responding to COVID-19,
                 adjusting operations, and preparing courthouses for public access.


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       Case Summary
             a Back      New Search           Refine Search



       Melanie Anderson v. Red Lobster Restaurants, LLC
        Case Number                          89D01-2103-CT-00001 6

        Court                                Wayne Superior Court 1

        Type                                 CT Civil Tort
                                                  -




        Filed                                03/18/2021

        Status                               03/18/2021 Pending (active)
                                                              ,




       Parties to the Case                                                                                    Show all party details

        i.        Defendant Red Lobster Restaurants, LLC

        r.        Plaintiff        Anderson, Melanie


       Chronol ogical Case Summary
        03/10/21121 Case Opened as a New Filing


        03/18/2021
                         Complaint/Equivalent Pleading

                         Filed By:                    Anderson, Melanie
                         File Stamp:                  03/18/2021

        03/18/2021            (S   O2Y        F             •-




                         Subpoena/Summons Filed
                         Filed By:                    Anderson, Melanie
                         File Stamp:                  03/18/2021

        03/18/2021
                         Appearance JAS  -




                         For Party:                   Anderson, Melanie
                         File Stamp:                  03/18/2021




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        Case 1:21-cv-02333-JPH-TAB Document 1-1 Filed 08/25/21 Page 3 of 23 PageID #: 8
 Summary - MyCase

         03/18/2021
                       Appearance - SBM

                       For Party:             Anderson, Melanie
                       F/a Stamp:              03/18/2021

         08/02/2021
                      Appearance for Defendant

                      For Part':              Red Lobster Restaurants, LLC
                      File Stamp:             07/31/2021

         08/02/2021          i/ia:: Ira'         rpra':s•: 0:   Cm a
                      Defendant's Motion for Extension of Time to File Answer

                      Filed By:               Red Lobster Restaurants, LLC
                      File Stamp:             07/31/2021

         08/03/2021
                      Order granting Defendant's motion for extension of time to tile answer to Plaintiff's complaint for damages to and
                      including October 4, 2021.

                      Order Signed:           08/02/2021

         08/04/2021 Automated Paper Notice Issued to Parties
                      Order Granting Motion for Enlargement of Time       ----   8/3/2021 : Melanie Anderson

        08/04/2021 Automated ENotice Issued to Parties
                      Order Granting Motion for Enlargement of Time       ----   8/3/2021 : Katherine Marie Haire

        08/09/2021                  ::mac::

                      Proof of Service

                      Filed By:               Anderson, Melanie
                      File Stamp:             08/09/2021


       Financial Information
           Financial Balances reflected cia curreni representations of transactions processed by the Clerk's Office. Please note that any
           balance due does not reflect interest that has accrued   -   if applicable since the last payment. For qLieStiOflS/COnCerIiS regarding
           balances shown, please contact the Clerk's O)hce.

       Anderson, Melanie
       Plaintiff
                   11
                   Balance Due (as of 08/25/2021)
                   0.00

                   C0aige Summary
                                                                                                                      edit        Payment
                    Court Costs and Filing Fees                                               157.00                0.00          157.00

                   Transaction Summary
                    Ca a                 i0.cn;'i ni an

                    03/18/2021           Transaction Assessment                               157.00
                    03/18/2021           Electronic Payment                                  : (157.00)




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         Case 1:21-cv-02333-JPH-TAB Document 1-1 Filed 08/25/21 Page 4 of 23 PageID #: 9
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Case 1:21-cv-02333-JPH-TAB Document 1-1 Filed 08/25/21 Page 5 of 23 PageID #: 10
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                                           Wayne County Superior Court I
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     STATE OF INDIANA              )                 WAYNE COUNTY SUPERIOR COURT                   Wayne County, Indiana
                                   ) SS              CIVIL DIVISION
     COUNTY OF WAYNE               )                 CAUSE NO.

     MELANIE ANDERSON,

                    Plaintiff,

             V.                                              JURY TRIAL REQUESTED

     RED LOBSTER RESTAURANTS LLC,

                    Defendant.

                                    COMPLAINT FOR DAMAGES

            Comes now the Plaintiff, Melanie Anderson, by counsel, and for her Complaint for

     Damages against the Defendant, Red Lobster Restaurants LLC, alleges and asserts:

            1. At all relevant time, the Plaintiff, Melanie Anderson, was a resident of Wayne County,

     Indiana.

            2. At all times relevant to this Complaint the Defendant, Red Lobster Restaurants LLC,

     (hereinafter "Red Lobster") was a Delaware corporation doing business within the State of

     Indiana.

            3. At all times relevant herein, the Defendant, Red Lobster, registered agent was located

     in Marion County, State of Indiana.

            4. At all times relevant to this Complaint the Defendant, Red Lobster, owned, operated

     and maintained the Red Lobster restaurant located at 5400 National Road, in the City of

     Richmond, County of Wayne, and State of Indiana.

            5. At all times mentioned herein the Defendant, Red Lobster, was responsible for

     property management and maintenance and safety on the premises occupied by the above-

     mentioned Red Lobster restaurant.




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             6. At all times relevant to this Complaint the acts and omissions alleged against the

     Defendant, Red Lobster, were performed and/or omitted by and through the agents, servants,

     employees and representatives of the Defendant, and each of them, while acting within the scope

     and course of their employment.

             7. On or about December 27, 2019, the Plaintiff, Melanie Anderson, was an invitee at the

     Red Lobster restaurant in located at 5400 National Road East in Richmond, Indiana.

             8. At said time and place, Plaintiff, Melanie Anderson, was walking in the front of the

     Red Lobster when she tripped and fell on an entry way rug that was flipped up in a negligent

     position, causing the Plaintiff to sustain personal injuries.

             9. The Plaintiff's fall and injuries were directly and proximately caused by the

     carelessness and negligence of the Defendant, including but not limited to the following acts

     and/or omissions:

                            The Defendant, Red Lobster, by and through its agents and employees,
                            failed to inspect and discover the rug was in a dangerous position, which
                            created a hazardous condition causing the Plaintiff to fall;

                    b.      The Defendant, Red Lobster, by and through its agents and employees,
                            failed to remedy the hazardous condition of entry way rug that caused the
                            Plaintiff to fall when the Defendant knew or should have known of the
                            existence of said hazardous condition;

                    C.      The Defendant, Red Lobster, by and through its agents and employees,
                            failed to warn the Plaintiff of the hazardous condition of the entry way rug
                            which existed when the Plaintiff was injured when the Defendant knew or
                            should have known of the existence of said dangerous condition, and;

                    d.      The Defendant, Red Lobster, by and through its agents and employees,
                            failed to provide a reasonably safe and secure premises.

            10. As a direct and proximate result of the carelessness and negligence of the Defendant,

    Plaintiff, Melanie Anderson, sustained severe and permanent personal injuries.

            11. All of the Plaintiff's injuries, except those which are superficial in nature, are




                                                                                                     0005
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     permanent, and have resulted in limitation of motion and extreme pain and suffering.

             12. The Plaintiff, Melanie Anderson, in order to treat her injuries and lessen her pain and

     suffering, has been required to engage the services of hospitals, physicians and medical

     technicians for medical care and treatment, medication, x-rays, physical therapy, and has

     incurred, and may incur in the future, reasonable medical bills for such treatment.

             13. As a direct and proximate result of the carelessness and negligence of the Defendant,

     the Plaintiff, Melanie Anderson, has incurred and will continue to incur medical and related

     expenses.

             14. At the time Plaintiff, Melanie Anderson, was injured she was gainfully employed and

     was required to miss work, all to her further damage.

             14. As a direct and proximate result of the carelessness and negligence of the Defendant,

     the Plaintiff, Melanie Anderson, has been damaged.

             WHEREFORE, the Plaintiff, Melanie Anderson, prays for judgment against the

     Defendant, Red Lobster Restaurants LLC, in an amount commensurate with her injuries and

     damages, for costs of this action, a trial by jury, and for all other relief just and proper in the

     premises.


                                                             Respectfully submitted,

                                                             /s/ Jason A. Shartzer
                                                             Jason A. Shartzer, Esq. #23989-49
                                                             Shannon B. Mize, Esq. #22902-49A
                                                             SHARTZER LAW FIRM, LLC
                                                              156 E. Market Street
                                                              I 01Floor, Suite 1000
                                                             Indianapolis, Indiana 46204
                                                             (317) 969-7600
                                                             (317) 969-7650 Fax
                                                             is hartzer(aTsh artzerlaw. corn
                                                             smize(ashartzcrlaw. corn
Case 1:21-cv-02333-JPH-TAB Document 1-1 Filed 08/25/21 Page 8 of 23 PageID #: 13




                                            Counsel for Plaintiff                  CD
Case 1:21-cv-02333-JPH-TAB Document 1-1 Filed 08/25/21 Page 9 of 23 PageID #: 14




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Case 1:21-cv-02333-JPH-TAB Document 1-1 Filed 08/25/21 Page 10 of 23 PageID #: 15
                                                 89D01-2103-CT-000016                                         Filed: 3/18/2021 12:38 PM
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                                                  Wayne County Superior Court I
                                                                                                                         SL
                                                  SUMMONS
      STATE OF INDIANA                     )                WAYNE COUNTY SUPERIOR COURT
                                                                                                                Wayne County, Indiana
                                           )   SS:          CIVIL DIVISION
     COUNTY OF WAYNE                       )                CAUSE NO.

     MELANIE ANDERSON,

                       Plaintiff,

              V.

     RED LOBSTER RESTAURANTS LLC,

                      Defendant.

              TO DEFENDANT:                Red Lobster Restaurants LLC
                                           do Corporate Creations Network Inc., Registered Agent
                                           8520 Allison Pointe Blvd., Ste. 4220
                                           Indianapolis, IN 46250

             You are hereby notified that you have been sued by the person named as plaintiff and in the Court
     indicated above.

              The nature of the suit against you is stated in the complaint which is attached to this Summons. It
     also states the relief sought or the demand made against you by the plaintiff.

              An answer or other appropriate response in writing to the complaint must be filed either by you or
     your attorney within twenty (20) days, commencing the day after you receive this Summons, (or twenty-three
     (23) days if this Summons was served by mail), or a judgment by default may be rendered against you for the
     relief demanded by plaintiff.

             If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you
     must assert it in your written answer.

             *If you need the name of an attorney, you mU contact the In napolis Bar
     Referral Service (269-2222), or the Marion County Ba ss ciation a

     Dated      3/18/2021
                                                            Clerk, Wayne Superior Court

                        (The following manner of service of summons is hereby

     X Registered or certified mail.
          Service at place of employment, to-wit:
          Service on individual   --   (Personal or copy) at above address. By Sheriff
          Service on agent. (Specify)
          Other service. (Specify)
     Jason A. Shartzer, #23989-49                                   156 F. Market Street, Suite 1000
     SHARTzER LAW FIRM, LLC                                         Indianapolis, IN 46204
     Counsel for Plaintiff                                          (317) 969-7600 (317) 969-7650 Fax
Case 1:21-cv-02333-JPH-TAB Document 1-1 Filed 08/25/21 Page 11 of 23 PageID #: 16


                                SHERIFF'S RETURN ON SERVICE OF SUMMONS

              I hereby certify that I have served this summons on the    day of        20.    ,


              (1)     By delivering a copy of the Summons and a copy of the complaint to the
      defendant,_____________
              (2)     By leaving a copy of the Summons and a copy of the complaint at
      and by mailing a copy of said summons to said defendant at the above address.
              (3)     Other Service or Remarks:                                -.




      Sheriffs Costs                                         Sheriff, Wayne County


                                                                      Deputy


                                             CERTIFICATE OF MAILING

              I hereby certify that on the      day of   ___________,    20, I mailed a copy of this Summons and a
     copy of the complaint to the defendant,                           by             mail, requesting a return receipt,
     at the address furnished by the plaintiff.


     Dated:
                                                             Printed Name


                                                             Signed


                                 RETURN ONSER VICE OF SUMMONS BYMAIL

             I hereby certify that the attached return receipt was received by me showing that the Summons and a
     copy of the complaint mailed to defendant                               was accepted by the defendant on the
     day of                ,20.

             I hereby certify that the attached return receipt was received by me showing that the Summons and a
     copy of the complaint was returned not accepted on the        day of           20_.
                                                                                      ,




              I hereby certify that the attached return receipt was received by me showing that the Summons and a
     copy of the complaint mailed to defendant                             was accepted by                    on
     behalf of said defendant on the -     day of        ,20_.


     Dated:
                                                             Printed Name


                                                             Signed




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Case 1:21-cv-02333-JPH-TAB Document 1-1 Filed 08/25/21 Page 12 of 23 PageID #: 17
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                                               Wayne County Superior Court I

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      STATE OF INDIANA                  )                  WAYNE COUNTY SUPERIOR COURT
                                                                                                               Wayne County, Indiana
                                        ) SS               CIVIL DIVISION
     COUNTY OF WAYNE                    )                  CAUSE NO.

     MELANIE ANDERSON,                                      )

                       Plaintiff,

              V.                                                  JURY TRIAL REQUESTED

     RED LOBSTER RESTAURANTS LLC,

                       Defendant.


                                APPEARANCE BY ATTORNEY IN CIVIL CASE

     Party Classification:              Initiating X              Responding   _____
                                                                                              Intervening

     1.       The undersigned attorney and all attorneys listed on this form now appear in this case for the
              following party member(s): Melanie Anderson

     2.       Applicable attorney information for service as required by Trial Rule 5(B)(2) and for case
              information as required by Trial Rule 3.1 and 77(B) is as follows:

     Name:            Jason A. Shartzer, Attorney No. 23989-49
                      SI-IARTZER LAW FIRM, LLC
     Address:         156 E. Market Street
                      1011 Floor, Suite 1000
                      Indianapolis, Indiana 46204
                      jshartzer(2shartzer1aw.c.oiu
     Phone:           (317) 969-7600 Fax: (317) 969-7650

     3.       There are other party members: Yes           No X (If yes, list on continuation page.)

     4.       IffirsI initiatiiigparyfihiizg this case, the Clerk is requested to assign this case the following Case
              Type under Administrative Rule 8(b)(3): CT

     5.       1 will accept service by FAX at the above noted #: Yes           No   .......




     6.       This case involves support issues. Yes            No X

     7.       There are related cases: Yes   ______   No    X (If yes, list on continuation page)

     8.       This form has been served on all other parties. Certificate of Service is attached: Yes        No X

     9.       Additional information required by local rule: None.

                                                                  Is! Jason A. Shartzer




                                                                                                                 0011
Case 1:21-cv-02333-JPH-TAB Document 1-1 Filed 08/25/21 Page 13 of 23 PageID #: 18




                                            Jason A. Shartzer, No. 23989-49
                                            Attorney for Plaintiff




                                                                              0012
Case 1:21-cv-02333-JPH-TAB Document 1-1 Filed 08/25/21 Page 14 of 23 PageID #: 19
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                                               Wayne County Superior Court I
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                                                                                                               Wayne County, Indiana
      STATE OF INDIANA                  )                 WAYNE COUNTY SUPERIOR COURT
                                        ) SS              CIVIL DIVISION
      COUNTY OF WAYNE                   )                 CAUSE NO.

      MELANIE ANDERSON,

                       Plaintiff,

              V.


     RED LOBSTER RESTAURANTS LLC,

                       Defendant.


                                 APPEARANCE BY ATTORNEY IN CIVIL CASE

     Party Classification:              Initiating X              Responding   _____
                                                                                           Intervening

     1.       The undersigned attorney and all attorneys listed on this form now appear in this case for the
              following party member(s): Melanie Anderson

     2.       Applicable attorney information for service as required by Trial Rule 5(B)(2) and for case
              information as required by Trial Rule 3.1 and 77(B) is as follows:

     Name:            Shannon B. Mize, Attorney No. 22902-49-A
                      SHARTZER LAW FIRM, LLC
     Address:         156 E. Market Street
                      10" Floor, Suite 1000
                      Indianapolis, Indiana 46204
                      smize(:shaizerlaw.com.
     Phone:           (317) 969-7600 Fax: (317) 969-7650

     3.       There are other party members: Yes          No X (If yes, list on continuation page.)

     4.       lffirst initiatingparry filing this case, the Clerk is requested to assign this case the following Case
              Type under Administrative Rule 8(b)(3): CT

     5.       1 will accept service by FAX at the above noted #: Yes           No   )

     6.       This case involves support issues. Yes          No .

     7.       There are related cases: Yes   _____   No     X (If yes, list on continuation page)

     8.       This form has been served on all other parties, Certificate of Service is attached: Yes        No X

     9.       Additional infoniiation required by local rule: None.




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Case 1:21-cv-02333-JPH-TAB Document 1-1 Filed 08/25/21 Page 15 of 23 PageID #: 20




                                             Is! Shannon B. Mize
                                            Shannon B. Mize, No. 22902-49A
                                            Attorney for Plaintiff




                                                                             0014
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          STATE OF INDIANA              )                  WAYNE SUPERIOR COURT,                 Wayne County, Indiana
                                        )                  CIVIL DIVISION
                                        )
          COUNTY OF WAYNE               )                  CASE NO. 89D01-2103-CT-000016


          MELANIE ANDERSON,
                                     Plaintiff,            )
                                V.                         )
                                                           )
          RED LOBSTER RESTAURANTS LLC,                     )
                             Defendant.                    J

                               APPEARANCE BY ATTORNEY IN CIVIL CASE

             1. The party on whose behalf this form is being filed is:

             Initiating              Responding...X Intervening   ______;   and

             the undersigned attorney and all attorneys listed on this form now appear in this case
             for the following parties:

             Name of parties:         RED LOBSTER RESTAURANTS LLC

             2. Attorney information for service as required by Trial Rule 5(B)(2):

             Name; Katherine M. Haire                                Atty. Number:           31330-49

             Address: Reminger Co., LPA, College Park Plaza, 8909 Purdue Road
                      Suite 200, Indianapolis, Indiana 46268

             Phone: 317-352-5240                   Fax: 3 17-228-0943

             E-mail Address:         ldiaire@reminger.com

     3.     This is a      CT         case type as defined in administrative Rule 8(B)(3).

             4. I will accept service by:
                    Fax at the above noted number:    Yes                         No X
                    Email at the above noted address: Yes                         NoX

     S.     This case involves child support issues.   Yes               No   X     (If Yes,
            supply social security numbers for all family members on a separately attached
            document filed as confidential information on light green paper. Use Form TCM-
            TR3.1-4.)

     6.     This case involves a protection from abuse order, a workplace violence restraining
            order, or a no contact order.        Yes_      No L. (If Yes, the initiating party




                                                                                                  0015
Case 1:21-cv-02333-JPH-TAB Document 1-1 Filed 08/25/21 Page 17 of 23 PageID #: 22




             must provide an address for the purpose of legal service but that address should not be
             one that exposes the whereabouts of a petitioner.) The party shall use the following
             address for purposes of legal service: N/A

      7.    This case involves a petition for involuntary commitment. Yes               NoX

      8.    If Yes above, provide the following regarding the individual subject to the petition for
            involuntary commitment.                     N/A

      9.    There are related cases: Yes              No      X (If Yes, list on continuation page.)

     10.    Additional information required by local rule:           None

     11.    There are other party members: Yes______ No X            (If Yes, list on continuance
            page.)

     12.    This form has been served on all other parties and Certificate of Service is attached:

            Yes                                  No

                                                           Respectfully submitted,

                                                           Is! Katherine M. Haire
                                                           Katherine M. Haire (31330-49)
                                                           REM INGER CO., LPA
                                                           College Park Plaza
                                                           8909 Purdue Road, Suite 200
                                                           Indianapolis, IN 46268
                                                           Tel: 317-663-8570 / Fax: 317-228-0943
                                                           khaire@reminger.com
                                                           Attorney for Defendant
                                      CERTIFICATEOF SERVICE

            I certify that the foregoing document has been filed in accordance with Trial Rule 86
     using the Court's Electronic Filing System, which will send notice on this 31st day of July,
     2021, to all registered parties as follows:
     Jason A. Shartzer, Esq.
     Shannon B. Mize, Esq.
     SHARTZER LAW FIRM, LLC
     156 E. Market St.
     101h Floor, Ste. 1000
     Indianapolis, IN 46204
     Attorney for Plaintiff
                                                       /s/Katherine M. Haire
                                                       Katherine M. Haire (#31330-49)




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Case 1:21-cv-02333-JPH-TAB Document 1-1 Filed 08/25/21 Page 18 of 23 PageID #: 23
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      STATE OF INDIANA               )                    WAYNE SUPERIOR COURT,            Wayne County, Indiana
                                     )                    CIVIL DIVISION
                                     )
      COUNTY OF WAYNE                )                    CASE NO. 89D01-2103-CT-000016

      MELANIE ANDERSON,
                                  Plaintiff,
                             V.


      RED LOBSTER RESTAURANTS LLC,
                          Defendant,

                             DEFENDANT'S MOTION FOR EXTENSION OF TIME
                       TO FILE ANSWER TO PLAINTIFFS COMPLAINT FOR DAMAGES

           COMES NOW the Defendant, Red Lobster Restaurants LLC ("Defendant"), by counsel,

     Katherine M. Haire of Reminger Co., LPA, and pursuant to Wayne County Local Rule LR89-

     TR06-004(C), requests an additional 45 days, up to and including Monday, October 4, 2021,

     in which to answer or otherwise plead in response to Plaintiff's Complaint for Damages, and

     as grounds therefore would state:

           1.      Defendant was served with the instant action by certified mail on July 26,

                  2021. Accordingly, Defendant's answer/responsive pleading is currently due

                  August 18, 2021, which time has not yet passed.

           2.     Wayne County Local Rule LR89-TR06-004(C) provides that "[t]he first motion

                  for enlargement of time to file a responsive pleading to a Complaint shall be

                  granted summarily for up to forty-five (45) days."

           3.     The undersigned inquired with Plaintiffs Counsel on July 29, 2021, regarding

                  whether there is any objection to a 45-day extension but did not receive a

                  response prior to filing this Motion.




                                                  1



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Case 1:21-cv-02333-JPH-TAB Document 1-1 Filed 08/25/21 Page 19 of 23 PageID #: 24




             4.     This motion is made in good faith and not for the purpose of delay, but to allow

                    Defendant appropriate and reasonable time to respond to the allegations

                    contained in the Plaintiffs complaint.

             4.     This motion, if granted, will not unduly prejudice any party.

             WHEREFORE, Defendant, Red Lobster Restaurants LLC requests a 45-day extension,

     to and including October 4, 2021, to file an answer or otherwise plead in response to

     Plaintiffs Complaint for Damages, and for such other relief just and proper in the premises.


                                                        Respectfully submitted,

                                                       /s/ Katherine M. Haire
                                                       Katherine M. Haire (31330-49)
                                                       REMINGER CO., LPA
                                                       College Park Plaza
                                                       8909 Purdue Road, Suite 200
                                                       Indianapolis, IN 46268
                                                       Tel: 317-663-8570
                                                       Fax: 317-228-0943
                                                       khaire@rerninger.com
                                                       Attorney for Defendant


                                       CERTIFICATE OF SERVICE

            I certify that the foregoing document has been filed in accordance with Trial Rule 86

     using the Court's Electronic Filing System, which will send notice on this 31st day of July,

     2021, to all registered parties as follows:

     Jason A. Shartzer, Esq.
     Shannon B. Mize, Esq.
     SHARTZER LAW FIRM, LLC
     156 E. Market St.
     101h Floor, Ste, 1000
     Indianapolis, IN 46204
     Attorney for Plaintiff
                                                       /s/Katherine M. Haire
                                                       Katherine M. Haire (#31330-49)

                                                   2
Case 1:21-cv-02333-JPH-TAB Document 1-1 Filed 08/25/21 Page 20 of 23 PageID #: 25




        STATE OF INDIANA             )                   WAYNE SUPERIOR COURT,
                                                         CIVIL DIVISION

        COUNTY OF WAYNE              j                   CASE NO, 89D01-2103-CT-000016


        MELANIE ANDERSON,
                                  Plaintiff,


        RED LOBSTER RESTAURANTS LLC,
                             Defendant,

                       ORDER GRANTING DEFENDANT'S MOTION FOR EXTENSION OF TIME
                         TO FILE ANSWER TO PLAINTIFF'S COMPLAINT FOR DAMAGES


               The Court, having reviewed Defendant Red Lobster Restaurants LLCs Motion for

       Extension of Time to Respond to Plaintiff's Complaint for Damages, now hereby GRANTS the

       same


               IT IS SO ORDERED that Defendant, Red Lobster Restaurants LLC, is hereby granted

       an extension to and including Monday, October 4, 2021, to answer or otherwise plead in

       response to Plaintiffs Complaint for Damages.


       Dated    August 2, 2021                      2,9
                                                 JUD GE, WAYNE COUNTY COU


       Distribution;


      All counsel of record per the Courts electronic file/serve system.




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       Red Lobster Restaurants LLC

       c/o Corporate Creations Network Inc

       Registered Agent
       8520 Allison Pointe Blvd., Ste. #220
       Indianapolis, IN 46250
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                                                 Wayne County Superior Cowl I
                                                  SUMMONS                                                                 SL
      STATE OF INDIANA)                                    WAYNE COUNTY SUPERIOR COURT
                                                                                                                 Wayne County, Indiana
                      ) SS:                                CIVIL DIVISION
      COUNTY OF WAYNE )                                    CAUSE NO,

      MELANIE ANDERSON,                                      )

                        Plaintiff,
                                                             )
               V.                                            )
                                                             )
      RED LOBSTER RESTAURANTS LLC,                           )

                       Defendant.                            )

               TO DEFENDANT: Red Lobster Restaurants LLC
                              do Corporate Creations Network Inc., Registered Agent
                              8520 Allison Pointe Blvd., Ste. #220
                              Indianapolis, IN 46250

              You are hereby notified that you have been sued by the person named as plaintiff and in the Court
      indicated above.

               The nature of the Suit against you is stated in the complaint which is attached to (his Summons. It
      also states the relief sought or the demand made against you by the plaintiff.

              An answer or other appropriate response in writing to the complaint must be filed either by you or
     your attorney within twenty (20) days, commencing the day after you receive this Summons, (or twenty-three
     (23) days if this Summons was served by mail), or a judgment by default may be rendered against you for the
     relief demanded by plaintiff.

              If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you
      must assert it in your written answer.

              1f you need the name of an attorney, you n' Contact the                napolis Bar
     Referral Service (269-2222), or the Marion County yflssyciat ion
                                                       ,
     Dated     3/18/2021
                                                           Clerk, Wayne Superior Court

                         (The following manner of service of summons is hereby d

      X   Registered or certified mail.
          Service at place of employment, to-wit:
          Service on individual   -   (Personal or copy) at above address. By Sheriff
     -    Service on agent. (Specify)
     -
          Other service. (Specify)
     Jason A. Shartzer, p23989-49                                 156 E. Market Street, Suite 1000
     SHARTZER LAW FIRM, LLC                                       Indianapolis, IN 46204
     Counsel for Plaintiff                                        (317) 969-7600 (317) 969-7650 Fax




                                                                                                                      0021
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                                SHERIFF'S RETURN ONSER VICE OFSUMMONS

              I hereby certify that I have served this summons on the    day of
                                                                              -
                                                                                      , 20.__.

              (I)     By delivering a copy of the Summons and a copy of the complaint to the
      defendant,_____________
              (2)     By leaving a copy of the Summons and a copy of the complaint at
      and by mailing a copy of said summons to said defendant at the above address.
              (3)     Other Service or Remarks:                                   -




      Sheriffs Costs                                    Sheriff, Wayne County

                                                        By:___________
                                                                   Deputy


                                            CERTIFICATE OF MAILING

               Ihereby certify that on the 2'ay  ' of                            ( I mailed a copy of this Summons and a
                                                                            1 20Z,

      copy of the complaint to the defende4 Le                          ,   by j4'4 mail requesting a return receipt,
      at the address furnished by the plaintiff.             LLC. C/o (Op.D)12.'4t eiwr f1wtic nc.
                                                            MM
      DateJt.O/l(                                         V6}r-& MOOr'
                                                        Printed Name


                                                        Signed


                                 RETURN ON SE!? VICE OF SUMMONS BYMAIL

             I hereby certify that the attached return receipt was received by me showing that the Summons and a
     copy of the complaint mailed to defendant                                was accepted by the defendant on the
     day of_   _
                            20,
                           ,,




              I hereby certify that the attached return receipt was received by me showing that the Summons and a
     copy of the complaint was returned not accepted on the         day of           20,  ,




              I hereby certify that the attached return receipt was received by me showing that the Surnnioris and a
     copy of the complaint mailed to defendant 1Lk1.Z LÀ)                  was accepted by          ti4          on
     behalf of said defendant on the -day of 3J, 207 1                                     cj o C r
                                                                 u\/-*V' 0 rfr LVCJ 9& tCYc t'Ut

     Dated:.1          1 i/i                                     'ilk                 O
                                                        Printed Name

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                                                        Signed




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